                                                                                                                              Case 2:20-cv-01565-RFB-VCF Document 9 Filed 10/19/20 Page 1 of 2



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                                                                                                                          7 Attorneys for Defendant,
                                                                                                                            Goldman Sachs & Co., LLC
                                                                                                                          8
                                                                                                                                               IN THE UNITED STATES DISTRICT COURT
                                                                                                                          9
                                                                                                                                                     FOR THE DISTRICT OF NEVADA
                                                                                                                         10
                                                                                                                             RICK A. ERDMANN;                       CASE NO. 2:20-cv-01565-RFB-VCF
                                                                                                                         11
                                                                                                                                                Plaintiff,
                                                                                                                         12                                          (SECOND) STIPULATION AND
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                             v.                                      ORDER TO EXTEND TIME FOR
                                                                                                                         13
                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070
BALLARD SPAHR LLP




                                                                                                                             GOLDMAN SACHS & CO., LLC;               GOLDMAN SACHS & CO., LLC TO
                                                                                                                         14                                          RESPOND TO PLAINTIFF’S
                                                                                                                                                Defendant.           COMPLAINT
                                                                                                                         15

                                                                                                                         16

                                                                                                                         17          The response of Defendant Goldman Sachs & Co., LLC (“Goldman”) to Plaintiff

                                                                                                                         18   Rick A. Erdmann’s complaint is currently due October 19, 2020. Goldman has

                                                                                                                         19   requested, and Plaintiff has agreed, that Goldman has up to and including November

                                                                                                                         20   19, 2020 to respond to Plaintiff’s complaint, to provide time for Goldman to review

                                                                                                                         21   Plaintiff’s account and continue the parties’ discussions about potential resolution.

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                                                                                                                         1            This is the second request for an extension, and it is made in good faith and
                                                                                                                         2    not for purposes of delay.
                                                                                                                         3    Dated: October 19, 2020
                                                                                                                         4     BALLARD SPAHR LLP                             KRIEGER LAW GROUP, LLC
                                                                                                                         5
                                                                                                                               By: /s/ Joel E. Tasca                         By: /s/ Shawn Miller
                                                                                                                         6     Joel E. Tasca                                 David Krieger
                                                                                                                               Nevada Bar No. 14124                          Nevada Bar No. 9086
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                                                                                                                         9                                                   Henderson, Nevada 89052
                                                                                                                               Attorneys for Defendant
                                                                                                                         10    Goldman Sachs & Co., LLC                      Attorneys for Plaintiff
                                                                                                                         11

                                                                                                                         12
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                         13
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                         18          IT IS SO ORDERED:

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                                                                                                                         21                                           UNITED STATES MAGISTRATE JUDGE

                                                                                                                         22                                                           10-19-2020
                                                                                                                                                                      DATED:
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